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                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

   BRIANT COLEMAN,

                         Plaintiff,

   v.                                                       Case No: 6:21-cv-547-GAP-DCI

   THE UNIVERSITY OF CENTRAL
   FLORIDA BOARD OF TRUSTEES,

                         Defendant.


                                               ORDER

          This matter is before the Court on Defendant’s Motion to Dismiss Plaintiff’s

   Complaint (Doc. 27). In ruling on this Motion, the Court considered Plaintiff’s

   Response in Opposition (Doc. 28).

          I.     Background1

          This is an employment discrimination lawsuit that Plaintiff Briant Coleman

   (“Coleman”) brings against the University of Central Florida Board of Trustees

   (“UCF”). Coleman claims he was subject to adverse treatment and a hostile

   environment because he is a black male. Coleman worked at UCF as an Associate




          1  This factual summary is based on the allegations contained in the Second Amended
   Complaint (Doc. 24) and “in reviewing motions to dismiss we accept as true the facts stated in the
   complaint and all reasonable inferences therefrom.” Jackson v. Okaloosa Cnty., 21 F.3d 1531, 1534
   (11th Cir. 1994).
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   Vice President for Strategic Initiatives, Communications, and Marketing. Coleman

   was appointed to this position on the insistence of then-Provost and Vice

   President of UCF, Elizabeth Dooley (“Dooley”).2 Coleman served in this role from

   October 2018 until October 2019,3 when UCF notified him that it would not renew

   his contract.

          During his tenure as Assistant Vice President, Coleman was the target of

   several complaints and investigations. The Chief of Staff accused Coleman of race

   and gender discrimination and her husband threatened Coleman’s employment.

   UCF investigated Coleman’s appointment based on allegations of improper hiring

   practices. Dooley attended a meeting where she was informed that Coleman was

   not liked and would have to be let go. Coleman was eventually given a notice of

   non-renewal on October 18, 2019.

          Coleman made several complaints regarding the conduct of other

   employees, but claims he was punished or ignored for making these complaints.

   Coleman attended a search committee meeting that was convened to hire a


          2
             The Complaint indicates that Coleman was employed by UCF prior to his appointment
   to this position. The Complaint is not clear as to what position he initially held or for how long he
   has been employed by UCF before the events detailed in the Complaint.
          3
             The Complaint is also not clear as to when Coleman was appointed to this role. Some
   allegations suggest that Coleman started as Associate Vice President in October 2018 (see Doc. 24
   ¶¶ 17–21), while elsewhere, the Complaint states that Coleman was appointed in February or
   March 2019 (Doc. 24 ¶ 23). Coleman’s Response in Opposition states that Coleman was hired in
   October 2018. Should Coleman elect to amend his Complaint, he would be well served by clearly
   alleging the sequence of events in this case.




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   director, where other officials made derogatory comments towards a black female

   candidate. Coleman reported these comments and began to be treated differently

   afterwards. Coleman reported a separate issue regarding a UCF football player,

   which was ignored. Coleman alleges that he was “harassed and intimidated” by

   other staff for reporting this incident but does not specify what occurred. Coleman

   also reported fraud and abuse and alleges that he was told not to make this report.

         Coleman also claims that he experienced several instances of discrimination

   unrelated to his complaints. Coleman alleges that in 2017 a coworker told him that

   black people should “worship” people like General Robert E. Lee and that General

   Lee and Adolph Hitler were “heroes.” Another coworker called a black coworker

   “the ‘help’ and he stated that now that Donald Trump was President of the United

   States things would go back to the old days of segregation.” Doc. 24 ¶ 35. In 2018,

   that same coworker called Coleman the n-word. Id. ¶ 37. Coleman reported these

   incidents, but UCF took no action.

         Coleman also alleges that he, another black employee, and a Hispanic

   employee were all referred to as “strange men” in the office by a high-ranking

   UCF official. Coleman reported this incident and UCF required his office to

   undergo sensitivity training.




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         Coleman originally filed this lawsuit in state court and UCF filed a notice of

   removal on March 25, 2021 (Doc. 1). In his Second Amended Complaint 4 (Doc. 24)

   (hereinafter, the “Complaint”), Coleman asserts three claims under 42 U.S.C. §

   1983 for racial discrimination, hostile work environment, and retaliation, all in

   violation of the Equal Protection Clause of the Fourteenth Amendment. UCF now

   seeks the dismissal of the Complaint in its entirety.

         II.    Legal Standard

         In ruling on a motion to dismiss, the Court must view the complaint in the

   light most favorable to the plaintiff, see, e.g., Jackson, 21 F.3d at 1534, and must limit

   its consideration to the pleadings and any exhibits attached thereto. See Fed. R.

   Civ. P. 10(c); see also GSW, Inc. v. Long Cnty., 999 F.2d 1508, 1510 (11th Cir. 1993).

   The Court will liberally construe the complaint’s allegations in the Plaintiff’s

   favor. See Jenkins v. McKeithen, 395 U.S. 411, 421 (1969). However, “conclusory

   allegations, unwarranted factual deductions or legal conclusions masquerading as

   facts will not prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185

   (11th Cir. 2003).




         4
          Coleman amended his complaint twice following motions to dismiss from UCF.
   Coleman’s Second Amended Complaint is incorrectly titled “Plaintiff’s First Amended
   Complaint and Demand for Jury Trial.” See Doc. 24 at 1.




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          In reviewing a complaint on a motion to dismiss under Federal Rule of Civil

   Procedure 12(b)(6), “courts must be mindful that the Federal Rules require only

   that the complaint contain ‘a short and plain statement of the claim showing that

   the pleader is entitled to relief.’” United States v. Baxter Int’l, Inc., 345 F.3d 866, 880

   (11th Cir. 2003) (citing Fed. R. Civ. P. 8(a)). This is a liberal pleading requirement,

   one that does not require a plaintiff to plead with particularity every element of a

   cause of action. Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th Cir.

   2001). However, a plaintiff’s obligation to provide the grounds for his or her

   entitlement to relief requires more than labels and conclusions, and a formulaic

   recitation of the elements of a cause of action will not do. Bell Atl. Corp. v. Twombly,

   550 U.S. 544, 554–55 (2007). The complaint’s factual allegations “must be enough

   to raise a right to relief above the speculative level,” id. at 555, and cross “the line

   from conceivable to plausible.” Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009).

          III.   Analysis

          UCF moves to dismiss Coleman’s Complaint in its entirety. The Court

   addresses UCF’s arguments as to each of the three counts in turn.

             A. Racial Discrimination (Count I)

          To state a claim for racial discrimination under Section 1983, a plaintiff must

   allege that “(1) she is a member of a protected class; (2) she is qualified for the

   position; (3) she was subjected to an adverse employment action; (4) and the



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   employer treated a similarly situated employee outside of the protected class more

   favorably.” Smith v. Vestavia Hills Bd. of Educ., 791 F. App’x 127, 130 (11th Cir.

   2019) (citing Smith v. Lockheed Martin-Corp., 644 F.3d 1321, 1325 (11th Cir. 2011).

   UCF contends that Coleman failed to adequately allege that he was subjected to an

   adverse employment action or that similarly situated employees outside of his

   class were treated more favorably.

         UCF argues, without citation to legal authority, that its notice of non-

   renewal of Coleman’s employment contract does not qualify as an adverse action

   because Coleman “was permitted to complete the remainder of his employment

   contract unimpeded.” Doc. 27 at 6. However, numerous courts in this circuit have

   held that the non-renewal of an employment contract constitutes an adverse

   employment action. See, e.g., Saxon v. Seminole Cnty. Pub. Schs., 6:15-cv-1854-Orl,

   2017 WL 2538075, at *2 (M.D. Fla. June 12, 2017); Saridakis v. S. Broward Hosp. Dist.,

   681 F. Supp. 2d 1338, 1348 (S.D. Fla. 2009). Therefore, this argument fails.

         UCF next argues that Coleman failed to factually support his allegation that

   UCF “consistently and habitually treated Plaintiff in a less favorable manner than

   non-black employees in Defendant’s workplace.” Doc. 24 ¶ 48. As UCF

   recognizes, Coleman alleges several incidents where he made a complaint that

   went ignored. Id. ¶¶ 29–41. For example, when he made complaints about the

   conduct of non-black employees, including incidents where two Caucasian



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   employees made racist comments to him, UCF took no action. In contrast,

   Coleman alleges that complaints directed against him were taken more seriously

   than his own and led to his termination. Id. ¶¶ 23–28. These allegations, along

   with Dooley’s comment that he was terminated because he was black (Doc. 25 ¶

   28), are sufficient to establish Coleman’s claim for racial discrimination.

               B. Hostile Work Environment (Count II)

         Next, UCF argues that Coleman failed to state a claim for a hostile work

   environment in violation of the Equal Protection Clause. An employee states a

   claim for hostile environment harassment if he alleges:

         (1) he belongs to a protected group; (2) he was subjected to
         unwelcome harassment; (3) the harassment was based on his
         membership in the protected group; (4) it was severe or pervasive
         enough to alter the terms and conditions of employment and create
         a hostile or abusive working environment; and (5) the employer is
         responsible for that environment under a theory of either vicarious
         or direct liability.

   Jones v. UPS Ground Freight, 683 F.3d 1283, 1292 (11th Cir. 2012) (quotation

   omitted).

         UCF argues that Coleman failed to allege any facts that can establish he was

   subjected to unwelcome harassment, simply because Coleman failed to include

   any such allegations under the heading “Hostile Environment Harassment” in the

   Complaint. True enough, the allegations under that heading deal with the

   complaints against Coleman. However, this argument completely ignores the




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   other sections of the Complaint containing factual allegations detailing the racist

   and offensive comments that Coleman was subjected to or that he witnessed. See

   Doc. 24 ¶ 35 (an employee discussed how “things would go back to the old days

   of segregation”); ¶ 36 (an employee told Coleman that black persons should

   “worship” General Robert E. Lee and Adolph Hitler); ¶ 37 (an employee called

   Coleman the n-word); ¶ 39 (a Caucasian employee referred to Coleman and two

   other non-Caucasian employees as “three strange men”).

         UCF declines to address these allegations in its Motion. UCF’s only

   argument as to this count seems to be that the Court must ignore these allegations

   because they were not given an appropriate label. This argument is without legal

   support. Therefore, UCF’s Motion is due to be denied in this respect as well.

            C. Retaliation (Count III)

         Last, UCF argues that Coleman’s retaliation claim should be dismissed

   because a retaliation claim under § 1983 does not implicate the Equal Protection

   Clause. Coleman alleges that UCF violated his Equal Protection rights by

   retaliating against him. The Eleventh Circuit has held that “[a] pure or generic

   retaliation claim . . . does not implicate the Equal Protection Clause.” Watkins v.

   Bowden, 105 F.3d 1344, 1354–55 (11th Cir. 1997). Coleman recognizes this

   precedent and explains that while his “complaints may have been a reason he was

   retaliated against, there is a significant suspicion that [Coleman’s] race in and of



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   itself served as a basis for his ‘non-renewal’ or ‘termination.’” Doc. 28 at 14. To the

   extent that Coleman links his retaliatory dismissal under this count to his race,

   “that allegation constitutes part of [his] equal protection discrimination.” See

   Watkins, 105 F.3d at 1355. Therefore, Count III will be dismissed without prejudice.

         IV.    Conclusion

         Accordingly, it is ORDERED that Defendant’s Motion to Dismiss (Doc. 27)

   is GRANTED in part and DENIED in part. Count III of Plaintiff’s Second

   Amended Complaint (Doc. 24) is dismissed without prejudice. In all other

   respects, Defendant’s Motion is denied. If Plaintiff wishes to file an amended

   complaint, he may do so within 21 days of the date of this order.

         DONE and ORDERED in Chambers, Orlando, Florida on August 16, 2021.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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